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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 4:24-CV-10017-JEM

   AKARI JOHNSON and
   HAZEL THOMPSON

            Plaintiffs,

   v.

   MMI 82, LLC,
   and THE ENTHUSIAST LLC,

            Defendants.

                   DEFENDANT MMI 82, LLC’S AMENDED RESPONSES TO
                   AKARI JOHNSON’S FIRST SET OF INTERROGATORIES

          Defendant, MMI 82, LLC (“MMI 82” or DEFENDANT”), through undersigned counsel,

   and in accordance with Fla. R. Civ. P. 1.280, 1.340, and all other applicable rules, statutes, orders,

   case law, and other authorities, hereby responds to the First Set of Interrogatories to Defendant

   (the “Interrogatories”, and as to each “Interrogatory”) propounded by Plaintiff, AKARI

   JOHNSON, and states:

                           GENERAL CLARIFICATIONS AND
                QUALIFICATIONS APPLICABLE TO EACH INTERROGATORY

           A.     MMI 82 construes the Interrogatories, including any instructions, definitions, or

   procedures, in a manner that is consistent with the requirements of the Florida Rules of Civil

   Procedure and the Florida Rules of General Practice & Judicial Administration. Also, MMI 82

   construes the Interrogatories, including any instructions, definitions, or procedures, as not

   requiring MMI 82 to undertake any action or obligation not required by the Florida Rules of Civil

   Procedure or the Florida Rules of General Practice & Judicial Administration. To be clear, in



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   responding to the Interrogatories, MMI 82 will undertake those actions, and only those actions,

   required by the applicable rules.

           B.      None of MMI 82’s answers are intended as, or should be construed as, a waiver or

   relinquishment of the attorney-client privilege, the work-product doctrine, or any other applicable

   privileges or protections from disclosure. MMI 82’s failure to make any objection through

   inadvertence, ignorance of facts giving rise to such objection, or any other reason, should not be

   considered a waiver of such objection.

           C.      In responding to these Interrogatories, MMI 82 does not concede that any

   information or materials disclosed is relevant to this action or would be admissible, and expressly

   reserves the right to challenge the admissibility of any information or materials disclosed.

           D.      MMI 82 construes the Interrogatories, including any instructions, definitions, or

   procedures, as not seeking the disclosure of any information protected by the “work product”

   doctrine or any similar or related doctrines, the attorney-client privilege, or any other applicable

   rule or doctrine of privilege or confidentiality that protects such information from disclosure (e.g.,

   trade secrets, etc.).

           E.      MMI 82 expressly rejects any assertions or conclusions which are implied by any

   of the Interrogatories or on which any of the Interrogatories are premised. By responding to an

   Interrogatory, MMI 82 does not concede or admit any premised or implied assertions or

   conclusions.

           F.      MMI 82 notes that the Interrogatories are overbroad in that they are not generally

   limited to a time-period; accordingly, in the event a specific Interrogatory does not specify a

   relevant time-period, MMI 82 construes such Interrogatory as seeking information for the period

   beginning on the morning of the incident which is the subject of the operative complaint.


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          G.      Because discovery is ongoing, MMI 82 reserves the right, but does not undertake

   the obligation, to supplement or amend its responses and objections to the Interrogatories.

                                RESPONSES TO INTERROGATORIES

   1.     Identify all persons whom you contend have knowledge of the facts and circumstances,

   including but not limited to any claims and/or defenses, alleged in the Pleadings, including the

   facts which you contend are known to each person, and for each person so identified, specify the

   subject matter about which each such person has knowledge, the employer and job title of such

   person, and the last known address and telephone number of that person.

          ANSWER: Oneil Khosa, Owner of MMI 82, may have knowledge regarding
          the duties of the Plaintiff.
          Ellen Summers (Guest Services Manager) may have knowledge regarding the
          Plaintiff’s duties.
          c/o Almazan Law, 7901 Ludlam Road, Suite 100, Miami, FL 33143; 305-665-
          6681

          Aileen Gonzalez may have knowledge regarding the hiring, duties, and
          performance of the Plaintiff.
          Daniella Rodriguez, no longer employed by MMI 82, may have knowledge
          regarding the room rate changes made by Plaintiff and reservations made by
          the Plaintiff and not paid.


   2.     Identify the name, address, telephone number and email address of any person, entity or

   internal department who provided information, consultation, or assistance with answering these

   Interrogatories. If applicable, please include an identified person’s official position or relationship

   to the Defendant.

          ANSWER: Oneil Khosa, Owner of MMI 82 and Ellen Summers, Guest
          Services Manager of MMI 82 c/o Almazan Law with the assistance of our
          attorney Johanna Castellon Vega, Esq., c/o Almazan Law, 7901 Ludlam Road,
          #100, Miami, Florida 33143.




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   3.      List all documents, with particularity, that you consulted, relied on, or have any relation

   to the substance of these interrogatories even if you did not consult with such documents to prepare

   these Interrogatories. Please state the title of each document, identify its signatories, including their

   titles, the date the document was prepared or signed, and the name of its present custodian and

   present location. Please include and list separately, any and all drafts of each document. Finally, if

   a document is stored electronically and/or in binary format, please state the location of the hard

   drive or other media where the information is stored.

           ANSWER: Please see the following documents in MMI 82’s production of
           responsive documents attached to the Defendant’s response to the Plaintiff’s
           request for production:

           1. All emails coming up in your email system referring to Akari and Hazel
              DEF 00001-00010
           2. Posters or any written material regarding the overtime policies, good faith
              efforts to comply with the FLSA with respect to compensation for
              employees, and policies regarding discrimination on the basis of race and
              color
              DEF 00011-00012
           3. Mr. Johnson’s Timecards
              DEF 00013-00018
           4. Timecards – All Employees
              DEF 00001-00218
           5. All documents that would reflect the hours of employment and
              compensation of all employees at MMI 82 from January 2023 through the
              present including timecards, work schedules, and payroll records
              DEF 00219-00220
           6. Checks
                     Checks Issued to Mr. Johnson
                     Checks Issued to Ms. Thompson
                     Checks Issued to Hospitality Hub
              DEF 00221-00254
           7. Letter of Employment
                     Hazel Thompson
                     Oneil Khosa Attestation
              DEF 00257-00258
           8. Casa Morada Letter to Credit Cards re: Hazel and Akari Fraudulent
              Actors
              DEF 00259
           9. Hospitality Hub/Hazel Thompson Fraud

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               DEF 00260-00269

         10.
                    Text messages between Oneil and Akari and Hazel
                    Text messages between Ellen and Akari
                    Text messages between Ellen and Hazel
                    Text messages between JW and Akari
             DEF 00270-00355
         11. Hazel and Akari’s stays at Casa Morada
             DEF 00356-00359909090
         12. Employee Letters from Candee, Julio, and Adriana re: Hazel and Akari
             DEF 00360-00362
         13. Casa Morada Operating Procedures
             DEF 00363-00657
         14. Casa Morada Training Program
             00658-00673
         15. Hotel Property and Guest Stay Information
             DEF 00674-00697
         16. Business Licenses
             DEF 00698-00701
         17. New Employee Packet
             DEF 00702-00748
         18. All documents that Daniella sent Tapia (the Dept of Labor investigator
             DEF 00749-00795

         4.     State every known instance Defendant or Defendant’s agent(s)
         reprimanded, counseled, or otherwise disciplined Plaintiff, whether oral, written, or
         otherwise. Include the extent of the punishment for Plaintiff’s alleged violation and
         describe the applicable internal policy. Additionally, please include the name of the
         individual who reprimanded Plaintiff on Defendant’s behalf.
         ANSWER: On December 16, 2023, Mr. Johnson and Ms. Thompson were
         overseeing and supervising a wedding event at Casa Morada. Both of them left
         the area, the wedding guests were looking for them for some time, because they
         needed the wedding cake and champagne which were in the office. Ellen
         Summers was called to assist. When Ms. Summers arrived on the property,
         Mr. Johnson was leaving the office with numerous papers in his hands. Ms.
         Summers asked him what was going on since she had received a call regarding
         the guests not being able to get their cake and champagne. Mr. Johnson left
         and said he would be right back. Mr. Johnson did not return. Ms. Summers
         contacted Mr. Johnson by phone and told him he needed to get back to the
         property, because he needed to open up the office so that the wedding guests
         could get their cake and champagne. Mr. Johnson and Ms. Thompson began
         screaming at Ms. Summers, they cursed at her with numerous profane words,
         and Ms. Thompson told Ms. Summers that she was going to get several people
         from Miami that were going to “f_ _ _ her up.” Thereafter, neither Mr.
         Johnson nor Ms. Thompson returned to work.

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          Mr. Thompson and Ms. Johnson were not supposed to abandon a wedding
          event that they were overseeing and supervising.

          Mr. Johnson nor Ms. Thompson were never disciplined or punished.


   5.     For the last seven (7) years, state in detail any and all prior allegations made against

   Defendant for discrimination, retaliation, or any unlawful employment practice under State,

   Federal or local law or ordinance. Such complaints include those your employees/agents made,

   internally, formal, or otherwise, and those employment grievances filed against Defendant with

   any governmental administrative agency, including, but not limited to the Equal Employment

   Opportunity Commission (“EEOC”), the Florida Commission on Human Relations (“FCHR”), or

   any other federal, state or local agency, concerning an employee’s grievance with the Defendant’s

   policy. For each claim, list the following:

   a. the name, address and telephone number for the claimant and his/her attorney;

   b. the nature of the event;

   c. the names and address of all parties involved;

   d. the date and manner in which the event was resolved; and

   e. if any Court filings, the caption of the action with the name and address of

   the Court and the file/index number assigned to the action.

          ANSWER: In 2024, the U.S Department of Labor conducted an investigation
          against the Defendant in connection with a wage claim initiated by the
          Plaintiffs in this case. The Defendant paid the Department of Labor
          $10,710.00 in connection with this matter. These documents are produced as
          DEF 00749-00795

          Keith Morcroft v. MMI 82, LLC, County Court of the 20th Judicial Circuit,
          Monroe County, Case No.: 44-2024-CC-000155-AI-01PK. Keith Morcroft is
          represented by Daniel Hunt. The matter has not been resolved.



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          Keith Morcroft v. MMI 82, LLC, State of Florida, Office of the Judge of
          Compensation Claims, Miami District Office. Keith Morcroft is represented
          by Daniel Hunt. The matter has not been resolved.


   6.     State in detail any and all prior allegations made against ONIEL KHOSA for

   discrimination, retaliation, or any unlawful employment practice under State, Federal or local law

   or ordinance. Such complaints include those your employees/agents made, internally, formal, or

   otherwise, and those employment grievances filed against ONIEL KHOSA with any governmental

   administrative agency, including, but not limited to the Equal Employment Opportunity

   Commission (“EEOC”), the Florida Commission on Human Relations (“FCHR”), or any other

   federal, state or local agency, concerning an employee’s grievance. For each claim, list the

   following:

   a. the name, address and telephone number for the claimant and his/her attorney;

   b. the nature of the event;

   c. the names and address of all parties involved;

   d. the date and manner in which the event was resolved; and

   e. if any Court filings, the caption of the action with the name and address of the

   Court and the file/index number assigned to the action.

          ANSWER: None.


   7.     Identify if ONIEL KHOSA has ever been arrested and/or convicted of a criminal offense,

   either by trial or guilty plea, identify the county and/or federal judicial district where he was

   convicted, the crime, date of conviction, and the case number. For each arrest and/or conviction,

   please describe in detail the circumstances surrounding the arrest and/or subsequent conviction.

          ANSWER: No.


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   8.     Describe any employment benefits Plaintiff received during his employment with

   Defendant, including but not limited to, Plaintiff’s salary, in addition to health insurance benefits,

   sick leave benefits, or any other benefits Plaintiff was entitled to or eligible to receive as an

   employee of Defendant.

          ANSWER: Akari Johnson was paid hourly. After a year of employment, he
          would have been entitled to vacation. He did not work a year.


   9.     Identify each and every person from whom you, or anyone acting in your behalf, has

   obtained any report, statement, recording, memorandum or testimony, whether signed or not, and

   whether prepared by someone other than said person or not, concerning the facts of this lawsuit.

   Include in your answer the identity of the custodian of same.

          ANSWER: Documents responsive to this request are included in the
          documents responsive to the Plaintiff’s request for production.
          They include:
          1. All emails coming up in your email system referring to Akari and Hazel
             DEF 00001-00010
          2. Letter of Employment
                    Hazel Thompson
                    Oneil Khosa Attestation
             DEF 00257-00258
          3. Casa Morada Letter to Credit Cards re: Hazel and Akari Fraudulent
             Actors
             DEF 00259
          4. Hospitality Hub/Hazel Thompson Fraud
             DEF 00260-00269
          5.
                    Text messages between Oneil and Akari and Hazel
                    Text messages between Ellen and Akari
                    Text messages between Ellen and Hazel
                    Text messages between JW and Akari
             DEF 00270-00355
          6. Hazel and Akari’s stays at Casa Morada
             DEF 00356-00359909090
          7. Employee Letters from Candee, Julio, and Adriana re: Hazel and Akari
             DEF 00360-00362
          8. All documents that Daniella sent Tapia (the Dept of Labor investigator
             DEF 00749-00795

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   10.    List any and all written and/or recorded statements or reports of all witnesses or potential

   witnesses in this lawsuit in your possession, custody or control, excluding any privileged reports

   or statements between any party to this action and the party’s attorneys.

          ANSWER: Documents responsive to this request are included in the
          documents responsive to the Plaintiff’s request for production.
          1. All emails coming up in your email system referring to Akari and Hazel
             DEF 00001-00010
             DEF 00219-00220
          2. Letter of Employment
                    Hazel Thompson
                    Oneil Khosa Attestation
             DEF 00257-00258
          3. Casa Morada Letter to Credit Cards re: Hazel and Akari Fraudulent
             Actors
             DEF 00259
          4. Hospitality Hub/Hazel Thompson Fraud
             DEF 00260-00269
          5.
                    Text messages between Oneil and Akari and Hazel
                    Text messages between Ellen and Akari
                    Text messages between Ellen and Hazel
                    Text messages between JW and Akari
             DEF 00270-00355
          6. Hazel and Akari’s stays at Casa Morada
             DEF 00356-00359909090
          7. Employee Letters from Candee, Julio, and Adriana re: Hazel and Akari
             DEF 00360-00362
          8. All documents that Daniella sent Tapia (the Dept of Labor investigator
             DEF 00749-00795

   11.    Identify all persons involved in and/or otherwise aware of the investigation into Plaintiff’s

   complaints and accusations as related to his employment with Defendant and the asserted

   discriminatory practices, including, but not limited to, human resources personnel, supervisors,

   employees, independent contractors, or any other person who acted as Defendant’s agent(s), and

   for each person so identified, specify the subject matter about which each such person has

   knowledge, the employer and job title of such person, and the last known address and telephone



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    number of that person. Include in your response all documents prepared, obtained, and/or

    otherwise reviewed during the course of any such investigation.

           ANSWER: Same response as interrogatory #1.


    12.    Identify all employees who were responsible for either preparing and/or administering

    Defendant’s personnel, employee(s) and human resources policies, trainings, and/or procedures

    during the Plaintiff’s employment with Defendant, including but not limited to the employee(s)

    designated and responsible for receiving and investigating complaints of discrimination,

    harassment, and/or retaliation from employees.

           ANSWER: Aileen Gonzalez and Oneil Khosa.


    13.    Describe in detail any alleged deficiencies or issues that Defendant had with Plaintiff’s

    work performance or attendance during Plaintiff’s employment with Defendant, if any. In doing

    so, identify any and all documents which reflect said deficiencies or issues.

           ANSWER: In addition to what is stated in #4 above, Akari Johnson, together
           with Hazel Thompson, occupied rooms at the hotel for personal use during
           working and non-working hours and did not pay for the stays. This caused
           the housekeeping staff to enter the rooms and clean out towels and sheets.
           In addition, there were several occasions where Johnson booked stays for
           himself at Casa Morada and he did not pay for the reservations.
           Moreover, Mr. Johnson on many occasions purchased food from a local
           restaurant, named Bayside Grill, put the order on the bill for MMI82, LLC
           and used the food for personal consumption.
           Mr. Johnson together with Ms. Thompson, also took the Defendant’s laptop,
           refused to return it even after they resigned, and deleted a significant amount
           of data once the laptop was returned.
           Lastly, Mr. Johnson changed the user name and password for Casa Morada’s
           Instagram account and has never provided this information to the Defendant,
           despite being asked numerous times after he left.




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    14.     Describe in detail the reason for the Plaintiff’s termination, including the date of

    termination, and the name, title, supervisor, and race, of any employee(s) involved, whether in

    whole or in part, in the decision to terminate the Plaintiff.

            ANSWER: Akari Johnson was not terminated. He voluntarily resigned.


    15.     Identify all employee(s) of Defendant in the State of Florida who have been terminated

    from January 1, 2020, to the present, for the same reason described in response to Interrogatory

    No. 14 above, including the name, title, supervisor, worksite, and race, of any employee(s)

    identified.

            ANSWER: Objection. This interrogatory is overbroad, unduly burdensome,
            vague, not likely to lead to the discovery of admissible evidence. The question
            is unclear as it relates to “identifying all employees who have been terminated
            for the same reason described in response to Interrogatory No. 14 above.”


    16.     Identify any complaint(s) of discrimination or harassment reported by the Plaintiff to the

    Defendant and what action, if any, was taken in response to such complaint(s), including but not

    limited to the names and titles of any of Defendant's supervisors, representatives, or employees

    who conducted, supervised, participated in, or had knowledge of any remedial action taken in

    connection with, or in response to, such complaint(s).

            ANSWER: No discrimination or harassment was reported by Akari Johnson
            during his employment.


    17.     Identify any complaint(s) of discrimination or harassment reported by any employee

    against ONIEL KHOSA during his employment with Defendant and what action, if any, was taken

    in response to such complaint(s), including but not limited to the names and titles of any of

    Defendant's supervisors, representatives, or employees who conducted, supervised, participated



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    in, or had knowledge of any investigation or inquiry in connection with, or in response to, such

    complaint(s).

            ANSWER: None.


    18.    Identify any investigations or inquiries conducted in response to any complaint(s) of

    discrimination or harassment reported by the Plaintiff to Defendant. For each investigation or

    inquiry identified, please state: (1) the nature of the complaint or allegation being investigated, (2)

    the date the investigation was initiated, (3) the date the investigation was concluded, (4) any

    conclusions or findings made at the conclusion of the investigation, and (4) the name, title, and

    race of any employee(s) responsible for conducting the investigation.

            ANSWER: Same response as the response on number 16.


    19.    Identify any complaint(s) of wage or hour violation(s) reported by any employee against

    Defendant during his employment with Defendant and what action, if any, was taken in response

    to such complaint(s), including but not limited to the names and titles of any of Defendant's

    supervisors, representatives, or employees who conducted, supervised, participated in, or had

    knowledge of any investigation or inquiry in connection with, or in response to, such complaint(s).

            ANSWER: None other than the Plaintiffs in this case.

    20.    Identify any investigations or inquiries conducted in response to any complaint(s) of wage

    or hour violation(s) reported by the Plaintiff to Defendant. For each investigation or inquiry

    identified, please state: (1) the nature of the complaint or allegation being investigated, (2) the date

    the investigation was initiated, (3) the date the investigation was concluded, (4) any conclusions

    or findings made at the conclusion of the investigation, and (4) the name, title, and race of any

    employee(s) responsible for conducting the investigation.


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           ANSWER: The Plaintiff did not report any complaint of wage or hour
           violations during his employment.


    21.    Identify all employees of Defendant whom you contend had supervisory authority over the

    Plaintiff during the course of the Plaintiff’s employment with the Defendant, and provide the name,

    title, supervisor, and race, and indicate whether they are still employed with Defendant.

           ANSWER: Aileen Gonzalez was Akari Johnson’s supervisor. She is no longer
           employed by the Defendant.


    22.    From June 1, 2023 until the present, state with particularity Plaintiff’s rate of pay or at all

    times relevant to this controversy and the total amount of compensation received by Plaintiff

    during the course of his employment with Defendant, providing for each pay period, the (a) pay

    date, (b) the actual number of hours shown on the time cards/sheets, (c) if the time worked was

    rounded, the manner in which it was rounded, (d) the number of hours over forty for each week,

    (e) the actual numbers of hours worked, (f) the description of the work, (g) the rate of pay for each

    type of work described in the preceding section, (h) the check number, and (i) a description of each

    document containing the forgoing information. (In lieu of a description of each document, you

    may produce the document and reference the document by bates number in place of the

    description).

           ANSWER: Please see MMI 82’s production of responsive documents attached
           to the Defendant’s response to the Plaintiff’s request for production.


    23.    From June 1, 2023 until the present, state with particularity the number of hours worked

    by Plaintiff, identifying the procedure used for monitoring and recording said hours and identifying

    all personnel involved in these procedures and their specific responsibilities.




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           ANSWER: Please see MMI 82’s production of responsive documents attached
           to the Defendant’s response to the Plaintiff’s request for production.


    24.    State the terms of any insurance agreement under which any person or entity engaged in

    the insurance business may be liable to satisfy part or all of any judgment which may be entered

    against Defendant in this action.

           ANSWER: None.




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                                          VERIFICATION

                                             MMI 82, LLC

                                             By:
                                                   Print Name:
                                                   Title:


    STATE OF FLORIDA
    COUNTY OF __________________

          The foregoing instrument was acknowledged before me this ________ day of

    ___________, 2024, by ______________________________, who is personally known to

    me OR who has produced ______________________ and who did / did not take an oath.




                                                        NOTARY PUBLIC – State of
                                                        Print Name:
                                                        My Commission Expires:
                                                        My Commission Number:




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                                    CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing document has been furnished to the following by e-

    mail or e-service on October 1, 2024:

           Daneil J. Barroukh, Esq., Derek Smith Law Group, PLLC, 520 Brickell Key
           Drive, Suite O-301, Miami, Florida 33131, danielb@dereksmithlaw.com,
           kyle@dereksmithlaw.com, david@dereksmithlaw.com.


                                                  ALMAZAN LAW
                                                  Counsel for Defendant
                                                  7901 Ludlam Road, Suite 100
                                                  Miami, Florida 33143
                                                  Telephone:     (305) 665-6681
                                                  Facsimile:     (305) 665-6684
                                                  Service: service@almazanlaw.com

                                                  /s/ Johanna Castellon-Vega
                                                  ALEXANDER P. ALMAZAN, ESQ.
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                                                  cperkins@almazanlaw.com

                                                  Counsel for Defendant MMI 82, LLC




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